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                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: FORD MOTOR CO. DPS6 POWERSHIFT TRANSMISSION
PRODUCTS LIABILITY LITIGATION                                                          MDL No. 2814


                                       TRANSFER ORDER


        Before the Panel: Plaintiffs in the four actions listed on Schedule A move under Panel Rule
7.1 to vacate our orders conditionally transferring the actions to MDL No. 2814. Defendant Ford
Motor Company opposes the motions to vacate and supports transfer.

        After considering the parties’ arguments, we find that the actions share questions of fact with
the actions transferred to MDL No. 2814, and that transfer under 28 U.S.C. § 1407 will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
The actions in MDL No. 2814 involve common factual questions arising out of allegations that the
DPS6 PowerShift transmission installed in certain Ford Fiesta and Ford Focus vehicles is defective
and negatively affects the drivability, safety, and useful life of the vehicles. See In re Ford Motor
Co. DPS6 PowerShift Transmission Prods. Liab. Litig., 289 F. Supp. 3d 1350, 1352-53 (J.P.M.L.
2018). We find that plaintiffs’ actions involve the same factual issues. The Sutton and Guardado
actions allege “transmission defects” in 2017 Ford Focus vehicles. The Hall and Rodriguez actions
allege “drivability” problems in 2014 Ford Focus and Ford Fiesta vehicles and, according to Ford’s
vehicle records, were presented for repairs to the transmission. The vehicles in all actions are
equipped with a DPS6 PowerShift transmission, according to Ford’s vehicle records.

        In supports of their motions to vacate, plaintiffs in all four actions argue that their actions
were improperly removed and the transferor courts should decide their motions for remand to state
court. Jurisdictional issues do not present an impediment to transfer, as plaintiffs can present these
arguments to the transferee judge.1 See, e.g., In re: Prudential Ins. Co. of Am. Sales Practices Litig.,
170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).

       Plaintiffs’ argument that defendant Ford has engaged in a pattern of baseless removals,
inconsistent with the transferee court’s prior remand rulings in this docket, likewise does not support


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          Moreover, under Panel Rule 2.1(d), the pendency of a conditional transfer order does not
limit the pretrial jurisdiction of the court in which the subject action is pending. Between the date
a remand motion is filed and the date that transfer of the action to the MDL is finalized, a court
generally has adequate time to rule on a remand motion if it chooses to do so. For this reason, we
deny plaintiffs’ alternative request to stay transfer pending rulings on their remand motions by the
transferor courts. Moreover, we note that the transferor court in Guardado already has denied
plaintiff’s remand motion.
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vacating the conditional transfer orders. Not only would plaintiffs’ argument require that we judge
the merit of defendant’s removals, but the court best placed to recognize and address any pattern of
frivolous removals is the transferee court.2

        Plaintiffs in Sutton and Guardado further argue that that their actions are beyond the
boundaries of the MDL because the Ford Focus vehicles in the MDL are model years 2012 to 2016,
while their Ford Focus vehicles are model year 2017. While the initial transfer order does refer to
“Ford Focus model years 2012 to 2016” in a footnote, the common factual questions described by
the order are those “arising out of allegations that the DPS6 PowerShift transmission installed in
certain Ford Fiesta and Ford Focus vehicles is defective.” See 289 F. Supp. 3d at 1352. The order
proceeds to specifically describe the common factual questions as: “(1) whether the design or
manufacturing of the PowerShift transmission is defective; (2) defendant’s knowledge of, and
conduct in response, to the alleged defect; and (3) whether vehicle owners and lessees have suffered
a diminution in value or other economic damages.” Id. at 1353. Plaintiffs’ claims will involve the
same factual questions, even though they have 2017 model year vehicles.

        Additionally, consistent with the initial transfer order, the MDL already includes other model
year vehicles with the DPS6 PowerShift transmission, including the 2017 Ford Focus. As Ford
correctly notes, actions involving such vehicles have been included through the transfer of other
potential tag-along actions, and the transferee judge has accepted the direct filing of actions
involving other model years, such as the 2017 Ford Focus, for inclusion in the MDL.

        The Sutton and Guardado plaintiffs also argue that their actions should not be included
because, though their complaints allege a “[d]efective transmission,” they do not know whether their
vehicles have the DPS6 PowerShift transmission. But Ford has submitted vehicle records
documenting that plaintiffs’ vehicles are equipped with a DPS6 PowerShift transmission. Should
there be a factual dispute over the accuracy of Ford’s representation, the transferee court is well-
situated to resolve it, and can suggest remand of Sutton and Guardado if warranted.

        The Sutton and Guardado plaintiffs next argue that their actions should be excluded because
they allege non-transmission defects such as engine, battery, and emission defects. However, “the
presence of additional facts or differing legal theories” does not prevent the transfer of an action that
shares factual issues with those in the MDL. See, e.g., In re: Auto Body Shop Antitrust Litig., 37 F.
Supp. 3d 1388, 1390 (J.P.M.L. 2014). Morever, in this MDL, the Panel already has determined that


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                 Plaintiffs in Hall and Rodriguez request, in the alternative, a “suggestion of remand
to accompany Plaintiffs’ motion[s] to remand.” It appears that plaintiffs are asking the Panel to
suggest remand of their actions to state court. Such a determination is beyond the scope of our
authority. “Section 1407 does not empower the MDL Panel to decide questions going to the
jurisdiction or the merits of a case, including issues relating to a motion to remand.” See In re Ivy,
901 F.2d 7, 9 (2d Cir. 1990). To the extent plaintiffs are asking the Panel to instruct the transferee
court to suggest remand of their actions to their respective transferor courts, the Panel declines to
do so, as the actions are appropriate for inclusion in the MDL at this time.
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actions alleging both DPS6 PowerShift transmission defects and “additional problems unrelated to
the transmission” are appropriate for transfer. See 289 F. Supp.3d at 1352.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Central District of California and, with the consent of that court, assigned to the Honorable André
Birotte, Jr., for inclusion in the coordinated or consolidated pretrial proceedings.




                                         PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Ellen Segal Huvelle           R. David Proctor
                                      Catherine D. Perry            Nathaniel M. Gorton
                                      Matthew F. Kennelly           David C. Norton
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IN RE: FORD MOTOR CO. DPS6 POWERSHIFT TRANSMISSION
PRODUCTS LIABILITY LITIGATION                                  MDL No. 2814


                                    SCHEDULE A

          Eastern District of California

     SUTTON v. FORD MOTOR COMPANY, C.A. No. 2:20-00407
     GUARDADO v. FORD MOTOR COMPANY, ET AL., C.A. No. 2:20-00716

          Northern District of California

     RODRIGUEZ v. FORD MOTOR COMPANY, C.A. No. 4:20-03260

          Southern District of California

     HALL v. FORD MOTOR COMPANY, ET AL., C.A. No. 3:20-00609
